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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,

                  v.                                      Criminal Action No. 21-601 (JDB)

  DAVID ANTONIO TICAS,
         Defendant.


                                              ORDER

       Based upon Mr. Ticas’s oral request at the status conference held on December 1, 2021

that the United States Pretrial Services Office return his passport for a period of 48 hours, and the

entire record herein, it is hereby

       ORDERED that the oral request is GRANTED; and it is further

       ORDERED that the United States Pretrial Services Office shall return the passport

belonging to David Antonio Ticas for a period of 48 hours. Upon the expiration of the 48-hour

period, Mr. Ticas shall return the passport to Pretrial Services.

       SO ORDERED.

                                                                     /s/
                                                              JOHN D. BATES
                                                          United States District Judge
Dated: December 1, 2021




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